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                      In the United States District Court
                           for the District of Kansas



Petsamai Phommaseng,
          Petitioner,

v.                                             Case No. 15-cr-20020-JAR-5
                                               (related to 14-cr-20014,
                                               15-cr-20006, 18-cv-02479)

United States of America,
          Respondent.


            Petitioner’s Motion for Leave to Conduct Discovery


     Petitioner has filed Motions to Vacate and Discharge with Prejudice Pursuant to

28 U.S.C. § 2255 and Memorandum in Support (“Motions”), 1 arguing that, inter

alia, the government violated his Sixth-Amendment right to protected attorney-

client communications. Petitioner now seeks leave of the Court, and asks for an

order to conduct discovery related to this claim. If granted, Petitioner respectfully

asks the Court to order the government to produce the requested discovery, as set

forth below, within 30 days.

     The government takes no position on this request because it has not yet seen

the discovery requests, and reserves the right to object.




1Docket Entry (D.E.) 550; see also United States v. Phommaseng, No. 14-cr-20006,
D.E. 205; United States v. Phommaseng, No. 14-cr-20014, D.E 746.


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                                  Applicable Law

    Federal courts jealously guard habeas corpus 2 as the last bulwark against the

unconstitutional deprivation of liberty. 3 To meaningfully assess habeas-corpus

claims and protect federal rights, courts must be able to accurately

ascertain the facts underlying the claims.

    Rule 6 of the Rules Governing Section 2255 Proceedings governs discovery

matters. In relevant part, Rule 6 provides as follows:

       (a) Leave of Court Required. A judge may, for good cause, authorize a
       party to conduct discovery under the Federal Rules of Criminal Procedure or
       Civil Procedure, or in accordance with the practices and principles of law. If
       necessary for effective discovery, the judge must appoint an attorney for a
       moving party who qualifies to have counsel appointed under 18 U.S.C.A. §
       3006A.

       (b) Requesting Discovery. A party requesting discovery must provide
       reasons for the request. The request must also include any proposed
       interrogatories and requests for admission, and must specify any requested
       documents.




2 See, e.g., United States v. Hayman, 342 U.S. 205, 219 (1952) (“[T]he history of
Section 2255 shows that it was passed at the instance of the Judicial Conference to
meet practical difficulties that had arisen in administering the habeas corpus
jurisdiction of the federal courts. Nowhere in the history of Section 2255 do we find
any purpose to impinge upon prisoners' rights of collateral attack upon their
convictions. On the contrary, the sole purpose was to minimize the difficulties
encountered in habeas corpus hearings by affording the same rights in another and
more convenient forum.”)
3 See, e.g., Harris v. Nelson, 394 U.S. 286, 290-91 (1969) (“The writ of habeas corpus
is the fundamental instrument for safeguarding individual freedom against
arbitrary and lawless state action.”).


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Rule 6 therefore grants district courts broad discretion 4 in conducting discovery in

Section 2255 proceedings upon a showing of “good cause.” 5

     Petitioner requests discovery related to the Sixth-Amendment claim that the

government violated his constitutional right to confidential attorney-client

communications. Good cause exists for the Court to authorize discovery here.

Petitioner has set forth a viable claim built from specific facts gathered from the

litigation in United States v. Black, 6 in addition to extensive research and analysis

conducted by the Federal Public Defender Office (FPD), to show that, once the facts

are fully developed, Petitioner will be entitled to relief. In support of these discovery

requests, we incorporate herein the facts presented in Petitioner’s § 2255 Motions,

as well as in his Supplement 7 to those Motions.



4 The Advisory Committee Note to Rule 6 clarifies that the Rule is meant to be read
“consistent” with the Supreme Court’s decision in Harris v. Nelson, supra, in which
the Court declined to make the ordinary discovery rules applicable in habeas
proceedings, leaving it to the courts’ discretion to “use or authorize the use of
suitable discovery procedures, including interrogatories, reasonably fashioned to
elicit facts necessary to help the court ‘dispose of the matter as law and justice
require.’” Id. at 290 (citing 28 U.S.C. § 2243).
5Harris, 394 U.S. at 300 (“Good cause” exists for a court to authorize discovery
where “specific allegations before the court show reason to believe that the
petitioner may, if the facts are fully developed, be able to demonstrate that he is . . .
entitled to relief”); United States v. Moya-Breton, 439 F. App'x 711, 715–16 (10th
Cir. 2011) (unpublished) (same); see also Dist. Attorney's Office for Third Judicial
Dist. v. Osborne, 557 U.S. 52, 72 (2009) (“If such a habeas claim is viable, federal
procedural rules permit discovery ‘for good cause.’”) (quoting Rule 6); Bracy v.
Gramley, 520 U.S. 899, 908–09 (1997) (finding that petitioner demonstrated “good
cause” for discovery under Rule 6(a)).
6   United States v. Black, et. al, No. 16-20032-JAR.
7   D.E. 583.


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    The USAO has sole and unilateral control of much information about its policies

and practices and the conduct of its attorneys, employees, and agents that are

directly relevant to Petitioner’s claim and the remedy sought. Because a portion of

Petitioner’s claim will rest on the government’s destruction of evidence, or failure to

preserve relevant information, the government’s conduct in response to the Court’s

investigation in Black is also relevant here. Furthermore, the scope and

pervasiveness of the government’s misconduct with regard to attorney-client

communications is also relevant given that we seek relief not just on the intrusion

into Petitioner’s protected attorney-client communications, but in order to punish

the government’s extensive and systemic misconduct here and to deter future

government misconduct, both with respect to the sanctity of attorney-client

communications and the need to honor the Court’s inquiries and orders. For these

reasons, the information requested below is necessary to fully develop the facts for

this Court’s determination of the proper relief warranted under these specific

circumstances. 8




8 If the court finds that the sentence imposed is “open to collateral attack,” or that
there has been a denial or infringement of the Petitioner’s constitutional rights “as
to render the judgment vulnerable to collateral attack,” the court “shall vacate and
set the judgment aside and shall discharge the [petitioner] or resentence him or
grant a new trial or correct the sentence as may appear appropriate.” 28 U.S.C. §
2255(b); see also Burton v. Johnson, 975 F.2d 690, 693 (10th Cir. 1992) (“A federal
court is vested with ‘the largest power to control and direct the form of judgment to
be entered in cases brought up before it on habeas corpus” and “‘possesses power to
grant any form of relief necessary to satisfy the requirement of justice’”) (emphasis
in original) (quoting Carafas v. LaVallee, 391 U.S. 234, 239 (1968); Levy v. Dillon,
415 F.2d 1263, 1265 (10th Cir. 1969)).


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                      Initial discovery production requests

   Upon the Court’s leave, Petitioner requests the production of the documents and

materials as set forth below. Notably, this is Petitioner’s first discovery request, and

depending on the government’s productions and counsel’s ongoing investigations,

Petitioner may seek additional discovery at a later date.

   Definitions

   a. “accessed” means sought or obtained access to, or listed to or viewed, or
attempted to listen to or view, or directed another person to do one or more of those
things. It also means directly receiving information, materials, or objects of any
kind or type; or indirectly receiving information about or descriptions of
information, materials, or objects that were accessed by another person;

   b. “are or were in the possession, custody, or control” includes documents or
materials, or exact copies of the same, that (1) are now in the possession, custody, or
control of the United States Attorney’s Office for the District of Kansas, and which
must be produced, and (2) documents or materials that once were in the possession,
custody, or control of that office but no longer remain so, which must be reasonably
identified along with a statement as to why that office no longer possesses, has
custody of, or controls either the originals or the copies.

   c. “AUSA” means Assistant United States Attorney; “SAUSA” means Special
Assistant United States Attorney.

   d. “Black” means the underlying case of United States v. Lorenzo Black, Case
No. 2:16-CR-20032, U.S. District Court for the District of Kansas, and its named
defendants and any interested parties as identified in the docket of that case. It also
means those cases and individuals who have filed motions under Fed. R. Crim.
Procedure Rule 41 and/or 28 U.S.C. § 2855 alleging relief arising out of evidence or
findings in Black.

   e. “CCA” means the Corrections Corporation of America (now known as
“CoreCivic”) detention facility, Leavenworth, Kansas.

   f. “document(s)” or “material(s)” means anything written, printed, electronically
created, or copied that serves to record or chronicle information.




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   g. “the investigation” means any and all of the three phases of investigation
that were authorized by the Court in Black and ordered to be conducted by the
Special Master appointed by the Court.

   h. “U.S. Attorney,” and “First Assistant U.S. Attorney,” means those officials
serving in the District of Kansas at any time during the relevant time period and to
the date of production.

   i. “USAO-DKan” and “USAO” mean the United States Attorney’s Office for the
District of Kansas.

    j. “USAO-DKan personnel” means all employees of the United States
Department of Justice working at or assigned to the United States Attorney’s Office
for the District of Kansas.

   Production requests

   1. Any information that the USAO (including attorneys, law enforcement agents
(from any agency), support staff, interpreters, and other employees and contractors)
requested, obtained, possessed, reviewed, re-disseminated, or relied on recorded
CCA phone calls in Petitioner’s case, whether or not those calls included attorney-
client calls or were requested, obtained, possessed, reviewed, re-disseminated or
relied in other cases or investigations.

   2. Any information that the USAO (including attorneys, law enforcement agents
(from any agency), support staff, interpreters, and other employees and contractors)
knew or should have known that the Petitioner’s attorney-client calls were recorded,
requested, obtained, possessed, reviewed, re-disseminated, or relied upon at any
time.

  3. Any and all documents and materials created by USAO-DKan personnel and
provided to USAO-DKan employees, contractors, and/or any federal, state, or local
agent, to the extent such documents or materials concern or relate to retention,
preservation, and production of materials that relate to or concern the Black
investigation.

  4. Any and all documents and materials sent, given to, or received by AUSA
Emily Metzger in response to her instructions concerning retention, preservation,
and production of materials that relate to or concern the Black investigation.

   5. A list or log of all repositories in the USAO-DKan information systems that
could have been, were, or are now being searched using the June 7, 2017, list of
search terms negotiated by USAO-DKan and the Special Master (the list of search
terms is contained in Black docket 298-4, exh. D). Repositories may be identified by



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employee initials for USAO-DKan personnel, if applicable. A repository may be
identified artificially if its description would reveal contents claimed to be privileged
from disclosure under 28 C.F.R. § 26.26.

  6. Any and all documents or materials that reference, discuss, describe or
pertain to:

     a.      USAO-DKan management instructions to USAO-DKan personnel, and
  its agents and contractors, as to what level of cooperation would be provided to
  the Special Master by USAO-DKan;

    b.      Directions or instructions of any kind or nature, directed to a specific
  employee, agent, or contractor, or concerning a specific employee, agent, or
  contractor, as to whether that employee, agent, or contractor was or is now
  permitted to meet with the Special Master, whether at the Special Master’s
  request or at the recipient’s request;

     c.      Directions or instructions of any kind or nature, to any USAO-DKan
  personnel, its agents, or its contractors that authorize, limit, or forbid preparing
  for or providing documents and materials to the Special Master.

   7. Any and all documents that discuss or describe “taint teams” used in Black or
in this case.

   8. Any documents or materials not already filed as exhibits in the Black case,
relating to allegations that personnel, contractors, and agents of USAO-DKan
personnel and their contractors acted in violation of the U.S. Constitution, statute,
or other law by obtaining, possessing, listening to, or watching confidential
communications of inmates and attorneys.

   9. Any documents or materials that discuss a meeting to include AUSA Kim
Flannigan, SAUSA Erin Tomasic, or both, and Attorney Jacquelyn Rokusek, limited
to a case where Rokusek represented Richard Dertinger.

   10. Any documents or materials regarding then-SAUSA Erin Tomasic’s issuance
of any Grand Jury subpoena in Black. This demand is limited to documents or
materials that: (a) were created prior to the issuance of any such subpoena, and (b)
are not prohibited from disclosure under Fed. R. Crim. Pro. 6(e).

   11. A list of every individual working at, working with, or detailed to, the USAO-
DKan (including attorneys, law enforcement agents (from any agency), support
staff, interpreters, and other contractors) who is known to have accessed (whether
deliberately or inadvertently):




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  (a) any video recording of attorneys meeting at CCA with detainees; and/or,

  (b) any telephone conversations between CCA detainees and attorneys.

   12. For every person identified in item 11 who directed or permitted someone
else to listen to or view the audio or video recording, identify the persons who: (a) so
directed or permitted, and (b) were so directed or permitted.

   13. Any and all documents and materials, not already in evidence, relating to the
preservation or non-preservation of any computer, computer software, disk, or other
electronic paraphernalia used by USAO-DKan to allow viewing of video recordings
produced by CCA related to Black. This demand goes to the time before and after
the Court ordered preservation of such materials by the USAO-DKan, and it
includes production of documents or materials that prescribe the time frame for the
regular district-wide implementation of computer phaseouts identified in the
Court’s order.

                                     Conclusion

   For these reasons, Petitioner asks the Court for leave and for an order

authorizing Petitioner to conduct discovery related to his Sixth-Amendment claim

that the government violated Petitioner’s right to protected attorney-client

communications, and that the proper remedy for this violation is to vacate the

judgments and dismiss with prejudice to further prosecution. If granted, Petitioner

respectfully asks that the Court order the government to produce the discovery

requested within 30 days.




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                                                Respectfully submitted,

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                           CERTIFICATE OF SERVICE

        I certify that on 01/17/2019, I electronically filed the foregoing with the Clerk
of the Court by using the CM/ECF system which will send a notice of electronic
filing to all interested parties and:

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